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LightStar Financial Services, LLC
                                                                                                           FACTORING AGREEMENT



     This FACTORING AGREEMENT (“Agreement”) is entered into on this 9th day of January 2014, (the “Effective Date”) at St.
Joseph, Missouri by and between LightStar Financial Services, LLC., a Missouri limited liability company (“Purchaser”), with offices
at 1717 Sixth Avenue, Saint Joseph, MO 64505 and Vanguard Health & Wellness, LLC. an Illinois limited liability company
(“Seller”), whose chief executive office is located at 1585 Ellinwood Avenue, Suite 100, Des Plaines, IL 60016 (“Seller’s Address”).

    1. Definitions and Index to Definitions. The following terms used herein shall have the following meaning. All capitalized
terms not herein defined shall have that meaning set forth in the Uniform Commercial Code as enacted in the State of Missouri
(“UCC”).

            1.1 “Accountant Letter” – shall have that meaning as set forth in Section 5.10 herein.

          1.2 “Accounts” – shall have the meaning as set forth in the UCC, plus all Healthcare Insurance Receivables, Government
Receivables, contract rights, documents, notes, instruments and all other forms of obligations owed to or owned by Seller, all
general intangibles relating thereto, all proceeds thereof, all guaranties, supporting obligations and security therefore, and all goods
and rights represented thereby and arising therefrom, including, but not limited to, returned, reclaimed and repossessed goods and
the rights of stoppage in transit, replevin and reclamation.

            1.3 “ACH” – the Automated Clearing House.

          1.4 “Avoidance Claim” – any claim that any payment made with respect to any Account received by or for the benefit of
Purchaser, whether the amount related thereto was paid by the Account Debtor, the Seller, on behalf of the Account Debtor or the
Seller, or for the benefit of either, or any lien granted to Purchaser, is avoidable against or recoverable from Purchaser, under the
U.S. Bankruptcy Code, any other debtor relief statute, including, but not limited to, preference claims, fraudulent transfer claims, or
any other claim under any similar state law, insolvency or receivable statute.

            1.5 “Closing Fee” – shall be One Thousand Four Hundred Fifty U.S. Dollars ($1,450.00).

         1.6 “Collateral”- all of Seller's now owed or hereafter acquired Accounts (including Health Care Insurance Receivables
and Government Receivables), Equipment, Inventory, Financial Assets, Chattel Paper, Electronic Chattel Paper, Letters of Credit
and Letter of Credit Rights, General Intangibles, Investment Property, Deposit Accounts, Instruments, Money, motor vehicles, all
books, records, files and computer data related to the foregoing, and all proceeds of the foregoing.

         1.7 “Collection Agent”- shall mean an independent person or organization which has contracted with Seller to service all
Accounts (including Healthcare Insurance Receivables) in accordance with an applicable agreement between the Collection Agent
and Seller.

          1.8 “Dispute” - any dispute, deduction, claim, offset, defense or counterclaim, of any kind whatsoever, regardless of
whether the same is in an amount greater than, equal to or less than the Account concerned, regardless of whether the same is valid
or bona fide, regardless of whether the same, in whole or in part, relates to the Account on which payment is being withheld or
other Accounts or goods or services already paid for, and regardless of whether the same arises by reason of an act of God, civil
strife, war, currency restriction, foreign political restriction or regulation, or the like, or any other reason.

            1.9 “Eligible Accounts” - an Account which is acceptable for purchase as determined by Purchaser, in its sole discretion.

         1.10 “Environmental Laws” – any federal, state or local law, rule regulation or order relating to pollution, waste disposal,
industrial hygiene, land use or the protection of human health, safety, or welfare, plant life or animal life, natural resources, the
environment or property.

            1.11 “Events of Default” – shall have that meaning as set forth in Section 8.1 herein.

            1.12 “Factoring Fee”- the fee charged for each purchase of an eligible account, computed as follows:
                    0.0897% per diem

       1.13 “Healthcare Insurance Receivable(s)”- shall mean any Account wherein payment shall come from an insurance
company whose insured is presumably covered by a medical, dental, vision, or any other form of health insurance policy.

            1.14 “Government Receivable(s)”- shall mean all Accounts for which the Account Debtor is a government entity
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including, without limitation, any federal or state agency or instrumentality thereof which is obligated to make any payments with
respect to Medicare or Medicaid pursuant to the Medicare program (as set forth in Title 42 of the United States Code, sections 1395,
et. seq.) or the Medicaid program (as set forth in Title 42 the United States Code, sections 1396, et seq.) or such other Accounts
representing amounts owing under any other program established by federal or state law which requires that payments for health
care services be made to the providers of such services.

         1.15 “Invalid Invoice Fee” - As liquidated damages for Seller’s failure to comply with Section 5.6, Seller shall pay an
Invalid Invoice Fee in the amount of ten percent (10%) of the face amount of each invoice or Account, which fails to comply with
Section 5.6 herein.

         1.16 “Missing Notation Fee” – ten percent (10%) of the face amount of any purchased Account, which fails to have the
required notation as required by Sections 2.7 or 4.1 herein.

         1.17 “Misdirected Payment Fee” - ten percent (10%) of the amount of any payment on account of a purchased Account
which has been received by Seller and not delivered to Purchaser on the business day following receipt by Seller, as required in
Section 6.1(b) herein.

            1.18 “Monthly Minimum Fee” – shall have that meaning as described in Section 2.11 herein.

            1.19 “Monthly Statement” – shall have that meaning as described in Section 2.8 herein.

          1.20 “Obligations” – shall mean and include each and all of the following: the obligation to pay and perform when due all
debts and all obligations, liabilities, covenants, agreements, guarantees, warranties and representations of Seller to Purchaser, of any
and every kind and nature, whether heretofore, now or hereafter owing, arising, due or payable from Seller to Purchaser; howsoever
created, incurred, acquired, arising or evidenced; whether primary, secondary, direct, absolute, contingent, fixed, secured, unsecured,
or otherwise; whether as principal or guarantor; liquidated or unliquidated; certain or uncertain; determined or undetermined; due or
to become due; as a result of present or future advances or otherwise; joint or individual; pursuant to or caused by Seller’s breach of
this Agreement, or any other present or future agreement or instrument, or created by operation of law or otherwise; evidenced by a
written instrument or oral; created directly between Purchaser and Seller or owed by Seller to a third party and acquired by
Purchaser from such third party; monetary or nonmonetary.

        1.21 “Original Term” – shall mean the term of this Agreement commencing on the Effective Date and concluding on
January 8, 2015.

            1.22 “Purchase Limit” - shall be Two Hundred Fifty Thousand U.S. Dollars ($250,000.00).
                                                           .
            1.23 “Purchase Price” - shall have that meaning as described in Section 2.2 herein

            1.24 “Records” - shall have that meaning set forth in Section 6.4 herein.

            1.25 “Renewal Term” – shall mean each consecutive twelve-month term following the conclusion of the Original Term.

        1.26 “Reserve” - a bookkeeping account on the books of Purchaser representing an unpaid portion of the Purchase Price,
maintained by Purchaser to ensure Seller’s performance with the provisions hereof.

        1.27 “Seller Lock Box” and “Seller Lock Box Account”- shall mean a lock box established by Seller pursuant to a lock
box agreement to receive collections or Proceeds of Government Receivables.

      2.    Factoring.

        2.1 Sale of Accounts. Seller agrees that it will do all of its business through Purchaser as Seller's sole factor and Seller
hereby assigns and sells to Purchaser, as absolute owner, all Accounts. Purchaser shall be under no obligation to purchase Seller’s
Accounts and shall only purchase Eligible Accounts.

         2.2 Purchase Price of Accounts. The Purchase Price of each Eligible Account (the “Purchase Price”) accepted by
Purchaser shall be the face amount of the Account; less all deductions, credits, discounts and allowances at any time issued, owing, or
granted to, or claimed, or taken by the Account Debtor; less Purchaser’s Factoring Fees under Section 2.3 below; less the Reserve
under Section 2.5 below.

            2.3 Factoring Fee. Purchaser shall charge Seller the Factoring Fees upon its accrual.


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            2.4 Purchase Limit. Purchaser shall not purchase Accounts if the unpaid balance on the Obligations exceeds the Purchase
Limit.

          2.5 Reserve. Purchaser shall charge and retain an amount equal to twenty percent (20%) of the face amount of each Account
purchased from Seller, which amount shall be held as the Reserve. Purchaser may, from time to time, at its sole discretion, charge the
aggregate Reserve with any losses which may be incurred in relation to any Account purchased hereunder or pay any of the
Obligations therefrom. Purchaser agrees to maintain the Reserve mentioned herein, the maintenance of which, however, shall not vest
the Seller any right, title, or interest herein, it being understood that the account shall be kept as a reserve to pay the Obligations of the
Seller incurred under the provisions of this Agreement. Provided that there is no Event of Default, Purchaser, in its sole discretion,
shall on a monthly basis, or at such other times in its sole discretion, initiate rebates to Seller from the Reserve.

          2.6 Repurchase Rights. Purchaser may require that Seller immediately repurchase, by payment of the then unpaid face
amount of any purchased Account, together with any unpaid fees relating to the purchased Account on demand, or at Purchaser’s
option, by Purchaser’s charge to the Reserve, upon the following events: (a) an Account is not paid by the Account Debtor within
ninety (90) days of the date set forth on the invoice for the purchased Account; (b) Seller has breached any warranties or promises in
this Agreement with regard to an unpaid Account; (c) Seller and Account Debtor are involved in a Dispute of any kind, regardless of
validity; (d) the Account Debtor asserts a claim of loss of any kind against Seller and/or Purchaser; and/or (e) an insolvency or other
financial inability of the Account Debtor to pay.

          2.7 Assignments and Other Documentation. Seller shall place the following legend on the face of all bills and invoices for
all Accounts assigned to and purchased by Purchaser hereunder, with the exception of Government Receivables: “This receivable has
been assigned to and is owned by and payable only to LightStar Financial Services, LLC at 1717 Sixth Avenue, St. Joseph, MO 64505
or electronically at Account No. 145571739880 ABA Routing No. 101000187. Any objection to this invoice must be reported to
LightStar Financial Services, LLC at (816) 265-2555.” Seller will provide Purchaser with an assignment and schedule of all Accounts
sold and assigned to Purchaser in a form satisfactory to Purchaser. Seller will also furnish Purchaser with the original and a duplicate
of its customers' invoices, the original to be sent by Purchaser to the customer, with postage and clerical charge thereon to be borne by
the Seller, or at Purchaser's option, sent by the Seller to the customer with a copy in each instance to Purchaser, and Seller will deliver
to Purchaser conclusive evidence of all shipments, all of which shall be satisfactory to Purchaser. Billings on all invoices, by
whomever done, shall constitute assignments thereof to Purchaser of the Accounts represented thereby, whether or not Seller executes
any other specific instrument of assignment. Seller will hold at its offices and be fully responsible to Purchaser for any and all
shipping receipts evidencing delivery of goods regarding Accounts. All such shipping evidences held by Seller shall be available for
Purchaser's inspection and for delivery to Purchaser at its request at any time. In the event that Seller sends to an Account Debtor any
invoice evidencing a purchased Account which does not contain such notation (or such other notation otherwise acceptable to
Purchaser as provided for in this Section), it will be impracticable or extremely difficult to determine the resulting damages suffered
by Purchaser. It is therefore agreed that Seller shall immediately pay to Purchaser, as liquidated damages, the Missing Notation Fee.

         2.8 Monthly Statement of Account. Purchaser will send a Monthly Statement of account or post account information online
on its website. Unless Purchaser receives a written exception to the Monthly Statement or any online posting within twenty-five (25)
days after it is rendered or posted online, the Monthly Statement or online statement shall become an account stated and be deemed
accepted by Seller and shall be conclusively and binding upon the Seller.

         2.9 Credits and Returns. Seller will issue credits only with Purchaser's prior written approval, and only if claimed by the
Account Debtor. In addition to the Accounts, Seller hereby sells, assigns and transfers to Purchaser all of its right, title and interest in
and to the goods, the sale of which resulted in the creation of Accounts, and in all such goods that may be returned by Account
Debtors, and all causes of action and rights in connection therewith which Seller now has or may hereafter acquire, including its rights
of reclamation, replevin and stoppage in transit and the rights as an unpaid vendor or lienor. Any goods so recovered shall be treated
as returned goods, and shall be set aside, marked with Purchaser's name and held for Purchaser's account as owner. Seller shall notify
Purchaser promptly of all such returns.

          2.10 Term of this Agreement - This Agreement shall be in effect for the Original Term and shall automatically renew for
consecutive Renewal terms unless terminated by either party giving the other written notice not less than sixty (60) days prior to the
end of the Original Term or any Renewal Term, which written notice shall clearly state its intention to terminate at the end of the
current term; provided, however, that if Seller shall elect to terminate the Agreement pursuant to this Section 2.10, Seller shall pay
Purchaser, in addition to all other obligations, the Minimum Monthly Fee as determined in Section 2.11 below.

          2.11 Minimum Monthly Fee. Purchaser would not have entered into this Agreement unless Seller guaranteed Purchaser
that the Factoring Fees would be at least $0.00 per month (the “Minimum Monthly Fee”). In the event that the Factoring Fees, as
determined in Section 2.3 above, during any calendar month is less than the Minimum Monthly Fee, the Seller shall pay to Purchaser
the Factoring Fee plus an amount equal to the difference between the Factoring Fees and the Minimum Monthly Fee, which amount
shall be due and payable on the first day of the following calendar month.


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          2.12 Payment of Other Fees. Seller shall pay to Purchaser all other fees and costs incurred under this Agreement including
but not limited to the Closing Fee immediately when its due.

      3.    “Collateral,” Grant of Security Interest, ACH Authorization.

         3.1 Collateral. As security and collateral for the Obligations, Seller hereby grants Purchaser a continuing security interest in,
and assigns to Purchaser, all of Seller's right, title and interest in and to the Collateral.

          3.2 Filing Authorization. Seller hereby authorizes Purchaser to file any document it deems necessary to perfect its security
interest in the Collateral, including but not limited to UCC-1 financing statements and any applicable amendments or continuation
statements.

        3.3 ACH Authorization. In order to satisfy any of the Obligations and facilitate the purchase of Accounts, Purchaser is
hereby authorized by Seller to initiate electronic debit or credit entries through the ACH.

      4.    Seller Lock Box.

         4.1 Lock Box. Seller shall establish a deposit account with and enter into a lock box agreement with a bank acceptable to
Purchaser, in its sole discretion, to which all collections of Government Receivables in the form of cash, checks, wire transfers or any
other form of payment are remitted and deposited to the Seller Lock Box Account. Seller may not revoke or otherwise change the
Seller Lock Box Account without the written permission of Purchaser, which permission may be withheld by Purchaser, in its sole
discretion. Any and all purchased Government Receivables shall bear a legend, which instructs the Account Debtor to render payment
thereon to the Seller Lock Box Account. In the event that Seller sends to an Account Debtor an invoice evidencing a purchased
Government Receivable, which does not contain such a legend, it will be impracticable or extremely difficult to determine the
resulting damages suffered by Purchaser. It is therefore agreed that Seller shall immediately pay to Purchaser as liquidated damages
the Missing Notation Fee.

    5. Representations, Warranties and Covenants of Seller. To induce Purchaser to enter into this Agreement, Seller represents
and warrants that each of the following representations and warranties now is and hereafter will continue to be true and correct in all
respects and Seller has and will timely perform each of the following covenants:

         5.1 Existence and Power. If Seller is a partnership, limited liability company or corporation, Seller is and will continue to be
duly authorized, validly existing and in good standing under the laws of the jurisdiction of its organization. Seller is and will continue
to be qualified and licensed in all jurisdictions in which the nature of the business transacted by it, or the ownership or leasing of its
property, make such qualification of licensing necessary, and Seller has and will continue to have all requisite power and authority to
carry on its business as it is now, or may hereafter be, conducted.

         5.2 Authority. Seller is, and will continue to be, duly empowered and authorized to enter into, and grant security interests in
its property, pursuant to and perform its obligations under this Agreement, and all other instruments and transactions contemplated
hereby or relating hereto. The execution, delivery and performance by Seller of this Agreement, and all other instruments and
transactions contemplated hereby or relating hereto, have been duly and validly authorized, are enforceable against the Seller in
accordance with their terms, and do not and will not violate any law or any provision of, nor be grounds for acceleration under any
agreement, indenture, note or instrument which is binding upon Seller, or any of its property, including, without limitation, Seller's
Operating Agreement, Partnership Agreement, Articles of Incorporation, By-Laws and any Shareholder Agreements (as applicable).

         5.3 Name; Trade Names; Styles; Provider Names and Provider Identification Numbers. Seller has set forth above its
absolutely true and correct name. Listed below is each prior true name of Seller and each fictitious name, trade name and trade style
by which Seller has been, or is now known, or has previously transacted, or now transacts business:
____________________________________________________________________________________________________________
____________________________________________________________________________________________________________

          Seller shall provide Purchaser with twenty (20) days' advance written notice before doing business under any other name,
fictitious name, trade name or trade style. Seller has complied, and will hereafter comply, with all laws relating to the conduct of
business under, the ownership of property in, and the renewal or continuation of the right to use a corporate, fictitious or trade name or
trade style.

         Set forth as Schedule 5.3 is a true, exact, correct and complete list of every provider name and provider identification number
(including, but not limited to, any National Provider Identifier (NPI), Medicare Identification Number and Tax Identification Number)
under which Seller has previously or now transacts business regarding Seller’s Healthcare Insurance Receivables and Government
Receivables. If any of the provider names listed below are different from the name of Seller, as identified above in this Agreement,
Seller shall provide to Purchaser such additional information and records regarding the provider name as Purchaser shall require.
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        Seller shall provide Purchaser with twenty (20) days' advance written notice before doing business with regard to any
Healthcare Insurance Receivable or Government Receivable under any other name, fictitious name, trade name or trade style, provider
name or provider identification number.

         5.4 Place of Business; Location of Collateral. Seller's books and records, including, but not limited to, the books and
records relating to Seller's Accounts are, and will be kept and maintained, at Seller's Address unless and until Purchaser shall
otherwise consent in writing. In addition to Seller's Address, Seller has places of Business and Collateral is located only at the
following locations:
____________________________________________________________________________________________________________
___________________________________________________________________________________________________________.

         Seller will provide Purchaser with at least twenty (20) days’ advance written notice in the event Seller moves the Collateral,
or obtains, opens or maintains any new or additional place(s) for the conduct of Seller's business or the location of any Collateral, or
closes any existing place of business.

          5.5 Title to Collateral; Liens. Seller is now, and will at all times hereafter be, the true, lawful and sole owner of all the
Collateral. With the exception of the security interest granted to Purchaser, the Collateral now is and will hereafter remain, free and
clear of any and all liens, charges, security interests, encumbrances and adverse claims. Except as expressly provided to the contrary in
this Section, Purchaser now has, and will hereafter continue to have, a fully perfected and enforceable choate first priority security
interest in all of the Collateral, and Seller will at all times defend Purchaser and the Collateral against all claims and demands of
others.

         5.6 Accounts; Invalid Invoice Fee. Each and every Account assigned to Purchaser shall, on the date the assignment is made
and thereafter, comply with all of the following representations, warranties and covenants: each Account represents an undisputed
bona fide existing unconditional obligation of the Account Debtor created by the sale, delivery, and acceptance of goods or the
rendition of services in the ordinary course of Seller's business; each Account is owned by Seller free and clear of any and all
deductions, Disputes, liens, security interests and encumbrances; the Account Debtor has received and accepted the goods sold and
services rendered which created the Account and the invoice therefor and will pay the same without any Dispute; no Account Debtor
on any Account is a shareholder, director, partner or agent of Seller, or is a person or entity controlling, controlled by or under
common control with Seller; no Account is owed by an Account Debtor to whom Seller is, or may become, liable in connection with
goods sold or services rendered by the Account Debtor to Seller or any other transaction or dealing between the Account Debtor and
Seller.

           Seller’s breach of any of the foregoing warranties shall result in the imposition of the Invalid Invoice Fee as liquidated
damages for additional administrative and other expenses incurred by Purchaser as a result of Seller’s breach hereof. Immediately
upon discovery by Seller that any of the foregoing representations, warranties, or covenants are or have become untrue with respect to
any Account, Seller shall immediately give written notice thereof to Purchaser. Seller will promptly notify Purchaser of, and settle all
Disputes, at Seller's own cost and expense (including attorneys' fees), and Seller will immediately pay Purchaser the amount of all
Accounts affected by any Dispute. Any Dispute not settled by Seller within sixty (60) days after the maturity of the invoice affected
thereby may, if Purchaser so elects, be settled, compromised, adjusted or litigated by Purchaser directly with the Account Debtor or
other complainant for Seller's account and risk and upon such terms and conditions as Purchaser, in Purchaser's sole discretion, deems
advisable. Purchaser is under no duty to investigate the validity or merits of any Dispute. Purchaser may also, in Purchaser's
discretion, take possession of and sell or cause the sale of any returned or recovered merchandise, at such prices, upon such terms and
to such purchasers as Purchaser deems proper, and in any event to charge the deficiency, costs and expenses thereof, including
attorneys’ fees, to Seller. In addition to all other rights Purchaser has hereunder, whenever there is any Dispute, or if any Account as to
which Purchaser has not assumed the risk of nonpayment is unpaid at its maturity, Purchaser may charge the amount of the Account
so affected or unpaid (as well as all other Accounts due and owing from that Account Debtor) to Seller; but such chargeback shall not
be deemed nor shall it constitute a reassignment to Seller of the Account affected thereby, and title thereto and to the Goods giving
rise thereto shall remain in the possession of Purchaser until Purchaser is fully reimbursed, regardless of the date or dates on which
Purchaser charges back the amount of any Account with respect to which there is any Dispute, or the amount owing from a Account
Debtor which has raised any Dispute. Seller agrees that, immediately upon the occurrence of any such Dispute, any Obligation
Purchaser may have otherwise had hereunder to bear the risk of non-payment with respect to such Account shall cease and such risk of
nonpayment shall immediately revert to and be assumed by Seller, without notice and without any action on Purchaser's part to effect
the same.

         5.7 Documents Genuine; Legal Compliance; Disposition. All statements made and all unpaid balances appearing in all
invoices, instruments and other documents evidencing the Accounts are and shall be true and correct and all such invoices,
instruments and other documents, and all of Seller's books and records are and shall be genuine and in all respects what they purport to
be, and all signatories and endorsers have full capacity to contract. All sales and other transactions underlying or giving rise to each
Account shall fully comply with all applicable laws and government rules and regulations. All signatures and endorsements on all
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documents, instruments, and agreements relating to all Accounts are and shall be genuine and all such documents, instruments and
agreements are and shall be legally enforceable in accordance with their terms. Seller has not, and shall not hereafter sell, assign,
pledge, encumber, forgive (completely or partially), settle for less than payment in full, or transfer or dispose of any Account, or agree
to do any of the foregoing.

          5.8 Maintenance of Collateral. Seller has maintained and will hereafter maintain the Collateral and all of Seller's assets
useful or necessary in the conduct of Seller's business in good working order and condition, at Seller's sole cost and expense. Seller
will not use the Collateral or any of Seller's other properties, or any part thereof, in any unlawful business or for any unlawful purpose
and will not secrete or abandon the Collateral, such properties, or any part thereof. Seller will not store any of the Collateral with any
warehouseman or any other third party without Purchaser's prior written consent. Seller will immediately advise Purchaser in writing
of any event causing loss or depreciation and of any material adverse change in the condition of the Collateral or of any of Seller's
other properties.

          5.9 Books and Records. Seller has maintained and will continue to maintain at Seller's Address complete and accurate books
and records comprising a standard and modern accounting system in accordance with generally accepted accounting principles that
accurately and correctly record and reflect Seller's income, expenses, liabilities, operations, accounts, and ownership and location of
the Collateral and any other asset now or hereafter belonging to Seller. Seller has not entered into any agreement with any accounting
firm or third party to prepare or store Seller's books and records or any part thereof at any location other than Seller's Address, and
Seller shall not enter into any such agreement without first obtaining Purchaser's written consent; any consent that Purchaser may give
shall be conditioned upon such accounting firm or other third party first agreeing to give Purchaser the same rights with respect to
access to books and records and related rights as Purchaser has under Section 6.4 of this Agreement, regardless of where such books
and records are kept or in what form they are maintained. In the event that at the time of execution of this Agreement, Seller's books
and records are presently in the possession of an accounting firm or third party, Seller will, concurrently with the execution of this
Agreement, and at any time thereafter upon request by Purchaser, provide Purchaser with such written agreement from such
accounting firm or third party, and Seller will not hereafter transfer the books and records to any other accounting firm or other third
party without first obtaining Purchaser's written consent and providing Purchaser with such agreement. All reserves (including,
without limitation, reserves for bad debts, depreciation and taxes) provided for upon Seller's books and records are now, and will
hereafter be, maintained in sufficient amounts in accordance with generally accepted accounting principles consistently applied. All
such books and records and all documents relating to any of the Collateral are and will continue to be genuine and in all respects what
they purport to be and will contain such information as may be requested by Purchaser.

          5.10 Financial Condition and Statements. All financial statements (including, but not limited to, balance sheets, profit and
loss figures, and accountants' comments) now or hereafter delivered to Purchaser have been, and will be, prepared in conformity with
generally accepted accounting principles and now and hereafter will completely and accurately reflect the financial condition,
contingent liabilities and results of Seller and Seller's operations at the times and for the periods therein stated. Since the last date
covered by any such statement, there has been no material adverse change in the financial condition, operations or any other status of
the Seller. Seller is now, and at all times hereafter will continue to be, solvent. The covenant set forth in the preceding sentence shall
be deemed breached if at any time Purchaser estimates that the value of all Seller's assets, if sold in bulk for liquidation purposes,
would not be sufficient to pay the total of Seller's liabilities (whether or not such liabilities are then due) or if Purchaser has
determined that Seller has failed to pay promptly when due all loans and all debts to trade and other creditors (unless Purchaser is
satisfied that the reason for such nonpayment is a bona fide Dispute between Seller and any of its creditors concerning the amount
due). Seller shall cause to be prepared and shall provide to Purchaser complete financial statements of Seller (including, but not
limited to, balance sheet, profit and loss statement and accountants' comments) as follows: (i) financial statements for each month, by
the 15th day of the following month; (ii) financial statements for each fiscal quarter, within forty-five (45) days after the end of the
fiscal quarter; and (iii) financial statements for each fiscal year, within sixty (60) days following the end of the fiscal year. Seller shall
also deliver to Purchaser a copy of all other financial statements prepared with respect to Seller no later than thirty (30) days after the
preparation or receipt thereof by Seller. At Purchaser's request, all such annual financial statements shall be prepared and certified by
independent certified public accountants acceptable to Purchaser. Seller shall, promptly following the date hereof, deliver a letter
(“Accountant Letter”) to its accountants, advising them that one of the principal purposes of the audited financial statements which the
accountants may be asked to prepare annually is to provide Purchaser and the financial institutions with which it has rediscount,
factoring or other relationships, with information regarding Seller's financial condition, and directing the accountants to send such
audited financial statements directly to Purchaser and said financial institutions, and, upon Purchaser's request, to meet with Purchaser
and such institutions annually or more frequently to discuss said financial statements and any questions regarding the same. If,
hereafter, Seller changes accountants, the new accountants shall be independent certified public accountants acceptable to Purchaser,
and Seller shall deliver the Accountant Letter to such new accountants. All costs, expenses and fees pertaining to the matters referred
to in this Section shall be borne solely and exclusively by Seller.

          5.11 Tax Returns and Payments; Pension Contributions. Seller has timely filed, and will hereafter timely file, all tax
returns and reports required by foreign, federal, state or local law. Seller has timely paid, and will hereafter timely pay, all foreign,
federal, state and local taxes, assessments, deposits and contributions now or hereafter owed by Seller (including, but not limited to,
income, franchise, personal property, real property, FICA, excise, withholding, sales and use taxes). Seller may defer payment of any
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contested taxes provided that Seller: (i) in good faith contests Seller's obligation to pay such taxes by appropriate proceedings
promptly and diligently instituted and conducted; (ii) notifies Purchaser in writing of the commencement and of any material
development in such proceedings; and (iii) posts bonds or takes any other steps required to keep such contested taxes from becoming a
lien against or charge upon any of the Collateral or other properties of Seller. Seller is unaware of any claims or adjustments proposed
for any of Seller's prior tax years which could result in additional taxes becoming due and payable by Seller. Seller has paid, and shall
continue to pay, all amounts necessary to fund all present and future pension, profit sharing and deferred compensation plans in
accordance with their terms, and Seller has not and will not withdraw from participation in, permit partial or complete termination of,
or permit the occurrence of any other event with respect to, any such plan which could result in any liability of Seller, including,
without limitation, any liability to the Pension Benefit Guaranty Corporation or its successors or any other government agency. When
requested, Seller will furnish Purchaser with proof satisfactory to Purchaser of Seller's making the payment or deposit of all such taxes
and contributions, such proof to be delivered within five (5) days after the due date established by law for each such payment or
deposit. In the event Seller fails or is unable to pay or deposit such taxes or contributions, Purchaser may, but is not obligated to, pay
the same and treat all such advances as additional Loans to Seller. Such advances shall bear interest at the highest rate of the
outstanding Loans to Seller.

          5.12 Compliance with Law, and Environmental Laws. Seller has complied, and will hereafter comply, with all provisions
of all foreign, federal, state and local law relating to Seller including, but not limited to, those relating to Seller's ownership of real or
personal property, conduct and licensing of Seller's business and employment of Seller's personnel. Seller has been and is currently in
compliance with all applicable Environmental Laws, including obtaining and maintaining in effect all permits, licenses or other
authorizations required by applicable Environmental Laws. There are no claims, liabilities, investigations, litigation, administrative
proceedings, whether pending or threatened, or judgments or orders relating to any hazardous materials asserted or threatened against
Seller or relating to any real property currently or formerly owned, leased or operated by Seller.

          5.13 Litigation. There is no claim, suit, litigation, proceeding or investigation pending or threatened by or against or
affecting Seller in any court or before any regulatory commission, board or other government agency (or any basis therefor known to
Seller) which might result, either separately or in the aggregate, in any adverse change in the business, prospects or condition of
Seller, or in any impairment in the ability or right of Seller to carry on its business in substantially the same manner as it is now being
conducted. Seller will immediately inform Purchaser in writing of any claim, proceeding, litigation or investigation hereafter
threatened or instituted by or against Seller.

         5.14 Complete Disclosure. There is no fact which Seller has not disclosed to Purchaser in writing which could materially
adversely affect the properties, business or financial condition of Seller or any of the Collateral or which is necessary to disclose in
order to keep the foregoing representations and warranties from being misleading.

         5.15 Continuing Effect. All representations, warranties and covenants of Seller contained in this Agreement and any other
agreement with Purchaser shall be true and correct at the time of the effective date of each such agreement and shall be deemed
continuing and shall remain true, correct and in full force and effect until payment and satisfaction in full of all of the Obligations, and
Seller acknowledges that Purchaser is and will be expressly relying on all such representations, warranties and covenants in making
Loans to Seller.

          5.16 No Government Investigations. There are no proceedings or investigations in which Seller is named as a party or any
other proceedings or investigations pending or threatened before any government authority or any arbitration or similar proceedings
which would make a determination which may materially prejudice Purchaser with respect to: i) the validity of any Account,
Healthcare Insurance Receivable or Government Receivable or any contract related thereto; (ii) the bankruptcy or insolvency of any
Account Debtor; (iii) the payment of any such Account, Healthcare Insurance Receivable or Government Receivable; or (iv) the
validity or enforceability of any such Account, Healthcare Insurance Receivable or Government Receivable. Seller shall notify
Purchaser within five (5) business days of any such proceeding, investigation, or arbitration.

         5.17 No Violation of Federal or State Law. No Account, Healthcare Insurance Receivable, or Government Receivable or
any contract related thereto in any manner contravenes any federal, state or local law, rule or regulation applicable thereto.

         5.18 Standard of Servicing. Without limiting the generality of the foregoing, Seller or Collection Agent shall service the
Accounts, Healthcare Insurance Receivables, and Government Receivables in accordance with generally accepted healthcare industry
standards for billing, collecting and servicing such Accounts, Healthcare Insurance Receivables and Government Receivables.

          5.19 Notification of Violations. Seller shall within five (5) business days notify Purchaser in writing of any violation of any
law, statute, regulation or ordinance of any government entity, or any agency thereof, applicable to Seller which may materially affect
the Collateral or Seller’s operations.




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      6.    Additional Continuing Duties of Seller.

            6.1 Duties Regarding Accounts.

                 (a) Seller shall deliver to Purchaser schedules and assignments of all Accounts on Purchaser's standard form;
provided, however, that Seller's failure to execute and deliver the same shall not affect or limit Purchaser's security interest and other
rights in and to all of Seller's Accounts, nor shall Purchaser's failure to purchase a specific Account affect or limit Purchaser's security
interest and other rights therein. Together with each such schedule and assignment, or later if requested by Purchaser, Seller shall
furnish Purchaser with copies (or, at Purchaser's request, originals) of all contracts, orders, invoices, and other similar documents, and
all original shipping instructions, delivery receipts, bills of lading, and other evidence of delivery, for any goods the sale or disposition
of which gave rise to such Accounts, and Seller warrants the genuineness of all of the foregoing. Seller shall also furnish to Purchaser
an aged accounts receivable trial balance in such form and as often as Purchaser requests, and Seller agrees that Purchaser may, from
time to time, verify directly with the respective Account Debtors the validity, amount and any other matters relating to the Accounts
by means of mail, telephone or otherwise, either in the name of Seller or Purchaser or such other name as Purchaser may choose. In
addition, Seller shall deliver to Purchaser the originals of all instruments, chattel paper, security agreements, guarantees and other
documents and property evidencing or securing any Accounts, immediately upon receipt thereof and in the same form as received,
with all necessary endorsements (all of which shall be with recourse).

                 (b) Except as provided for in Section 4.1 for Government Receivables, Purchaser shall have the sole and exclusive
right to collect the Accounts. All monies, checks, notes, drafts, money orders, acceptances and other things of value and items of
payment, together with any and all related vouchers, identifications, communications and other data, documents and instruments,
which for any reason may be received by Seller (or by any receiver, trustee, custodian or successor in interest of Seller, or any person
acting on behalf of Seller) in payment of, or in reference to, the Accounts shall belong to Purchaser, and, not later than one (1) day
after receipt thereof by Seller, Seller shall deliver the same to Purchaser, at Purchaser's office in the original form in which the same
are received, together with any necessary endorsements, including, without limitation, the endorsement of Seller, all of which
endorsements shall be with full recourse. Seller shall have no right, and agrees not to commingle any of the proceeds of any of the
collections of the Accounts with Seller's own funds and Seller agrees not to use, divert or withhold any such proceeds. Seller hereby
divests itself of all dominion over the Accounts and the proceeds thereof and collections received thereon. Seller shall make entries on
its books and records in form satisfactory to Purchaser disclosing the absolute and unconditional assignment of all Accounts to
Purchaser. Purchaser may charge to the Obligations all costs and expenses incurred by Purchaser in collecting Accounts, including,
without limitation, postage, telephone and telegraph charges, salaries of Purchaser personnel, and attorneys' fees. The Parties hereto
agree that if any payment on account of a purchased Account which has been received by Seller is not delivered in kind to Purchaser
on the next business day following the date of receipt by Seller, it will be impracticable or extremely difficult to determine the
resulting damages suffered by Purchaser. It is therefore agreed that in the event of such a breach by Seller, Seller shall pay Purchaser a
sum equal to ten percent (10%) of the amount of any payment on account of a purchased Account which has been received by Seller
and not delivered in kind to Purchaser on the next business day (the “Misdirected Payment Fee”).

                (c) Any goods which are returned by an Account Debtor or otherwise recovered by or for the benefit of Seller shall be
physically segregated, posted with written notice that they are subject to Purchaser's security interest, and held in trust for Purchaser
for such disposition as Purchaser shall direct. Seller shall promptly notify Purchaser of all such returns and recoveries. No return of
merchandise shall be accepted by Seller and no sale of returned goods shall be made by Seller without Purchaser's prior written
consent. Purchaser shall have the right acting alone to accept the return of any goods directly from an Account Debtor, without notice
to or consent by Seller, and neither the delivery by Seller of returned or recovered goods to Purchaser, nor the acceptance by Purchaser
of returns directly from an Account Debtor shall in any way affect Seller's liability to Purchaser on account of the Obligations.

                (d) Seller shall promptly notify Purchaser of all disputes and claims with respect to the Accounts. Seller shall not,
without Purchaser's prior written consent, compromise or adjust any Account, or grant any discount, credit, allowance, or extension of
time for payment to any Account Debtor. Purchaser shall have the right, in its sole and absolute discretion, to settle, accept reduced
amounts and adjust disputes and claims directly with, and give releases on behalf of Seller to Account Debtors for cash, credit or
otherwise, upon terms which Purchaser, in its sole and absolute discretion, considers advisable, and in such case Purchaser will credit
Seller's account with only the net amounts of cash received by Purchaser in payment of the Accounts, less all costs and expenses
(including, without limitation, attorneys' fees) incurred by Purchaser in connection with the settlement or adjustment of such disputes
and the collection of such Accounts.

          6.2 Insurance. Seller shall, at all times, and for such periods of time as Purchaser may require, at Seller's expense, insure
all of the insurable Collateral, and all of Seller's books and records, by financially sound and reputable insurers acceptable to
Purchaser, in the form of extended coverage policies against loss or damage by theft, embezzlement, fire, explosion, flood, sprinkler,
or any other insurable event or risk that Purchaser may require, to the fullest extent of the insurable value thereof. All such insurance
policies shall name Purchaser as the exclusive loss payee, shall provide that proceeds payable thereunder shall be payable directly to
Purchaser unless notarized written authority to the contrary is obtained from Purchaser, and shall also provide that no act or default of
Seller or any other person shall affect the right of Purchaser to recover thereunder. Upon receipt of the proceeds of any such insurance,
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Purchaser shall apply such proceeds in reduction of the Obligations, whether or not then due, in such order and manner as Purchaser
shall determine in its sole discretion. Seller shall provide Purchaser with the original or a certificate of each such policy of insurance
which shall contain a provision requiring the insurer to give not less than twenty (20) days advance written notice to Purchaser in the
event of cancellation or termination of the policy for any reason whatsoever. If Seller fails to provide or pay for any such insurance,
Purchaser is authorized (but not obligated) to procure the same at Seller's expense. Seller agrees to deliver to Purchaser, promptly as
rendered, true and correct copies of all reports made to all insurance companies.

           6.3 Reports; Certificates. At its sole cost and expense, Seller shall report, in form satisfactory to Purchaser, such
information as Purchaser may request regarding the Collateral; such reports shall be for such periods, shall reflect Seller's records at
such time and shall be rendered with such frequency as Purchaser may designate. At its sole cost and expense, Seller shall promptly
provide Purchaser with all such other information concerning its affairs as Purchaser may request from time to time hereafter, and
shall immediately notify Purchaser of any adverse change in Seller's financial condition and or any condition or event which
constitutes a breach or an Event of Default under this Agreement. All reports furnished to Purchaser shall be complete, accurate and
correct in all respects at the time furnished. Whenever requested, Seller shall deliver to Purchaser a certificate signed by Seller (or, if
Seller is a corporation, by Seller's president and chief financial officer, in their individual capacities, by all of Seller's general partners
if Seller is a partnership, or by Seller’s managing members if Seller is a limited liability company) warranting and representing that all
reports, financial statements and other documents delivered or caused to be delivered to Purchaser under the terms of this Agreement
are complete and correct, and accurately present the financial condition of Seller, and that there exists on the date of delivery of said
certificate to Purchaser no condition or event which constitutes a breach or Event of Default under this Agreement.

          6.4 Access to Collateral, Books and Records. At any and all times Purchaser, and any person designated by Purchaser, shall
have free access to, and the right without hindrance or delay to inspect, audit, examine and test the Collateral and any other property of
Seller, wherever located, and to inspect, audit, check, copy and make extracts from Seller's and Seller's accountant's books, records
and accounts (hereinafter collectively the “Records”) including, but not limited to, all storage media, computer data and other devices
and programs related thereto, printouts, minute books, journals, ledgers, work papers, financial statements, balance sheets, profit and
loss statements, orders, receipts and any correspondence and other data relating to Seller's business or to any transactions Seller has
entered into, no matter how or where such records may be maintained, generated or stored and for such purposes may enter into and at
no charge remain upon the Seller's premises as often and for so long as Purchaser may desire, and may use all computers and other
equipment and devices which Seller owns or leases or otherwise has available to it. Seller hereby irrevocably authorizes and directs
any person including, but not limited to, any of Seller's directors, officers, employees, agents, accountants and attorneys having
possession or control of any of the records to physically deliver them to Purchaser or any person designated by Purchaser upon
Purchaser's request or, at the option of Purchaser, make them available to Purchaser wherever the records may be located. Seller
waives the benefit of any accountant-client privilege or other evidentiary privilege precluding or limiting the disclosure, divulgence or
delivery of any of the records. Purchaser, and any person designated by Purchaser, at all times, by or through any of its officers,
agents, employees, attorneys, and accountants, shall have the right to possession of, or move to the premises of Purchaser or any agent
of Purchaser for so long as Purchaser may desire, all or any part of the records, to make full use thereof in aid of Purchaser's rights
under this Agreement.
          6.5 Prohibited Transactions. Seller shall not hereafter, without Purchaser's prior written consent: merge, consolidate,
dissolve, acquire any other corporation; enter into any transaction not in the usual course of business, make any investment in any
securities other than securities of the United States of America; guarantee or otherwise become in any way liable with respect to the
obligations of another party or entity; pay or declare any dividends upon Seller's stock; redeem, retire, purchase or otherwise acquire,
directly or indirectly, any of Seller’s stock; make any change in Seller's name, identity, corporate or capital structure; alter any of
Seller's business objectives, purposes, or operations or financial structure in such a manner as to adversely affect the ability of Seller to
pay or perform any of the Obligations; lend or distribute any of Seller's property or assets; incur any debts, outside of the ordinary
course of Seller's business, except extensions of existing debts and interest thereon; sell, lease, transfer, assign or otherwise dispose of
any of the Collateral; or make any capital expenditures or leasehold improvements at a cost in the aggregate in any twelve-month
period of more than $25,000.

          6.6 Notification of Changes. Seller will promptly notify Purchaser in writing of any change of its officers, member,
directors, partners, or key employees, a death of any partner or joint venturer (if Seller is a partnership or joint venture), any purchase
out of the regular course of Seller's business and any adverse or material change in the business or financial affairs of Seller.

          6.7 Litigation Cooperation. Should any suit or proceeding be instituted by or against Purchaser with respect to any
Collateral or for the collection of enforcement of any Account, or in any manner relating to Seller, Seller shall, without expense to
Purchaser, and wherever and whenever designated by Purchaser, make available Seller and its officers, employees and agents and
Seller's books, records and accounts to the extent that Purchaser may deem necessary in order to prosecute or defend any such suit or
proceeding.

         6.8 Execute Additional Documentation. Seller agrees, at its sole cost and expense, on demand by Purchaser, to do all things
and to execute all such security agreements, control agreements, deeds of trust, mortgages, assignments, certificates of title,
applications for vehicle titles, affidavits, reports, notices, schedules of Accounts and all other documents, in form satisfactory to
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Purchaser, as Purchaser, in its sole and absolute discretion, may deem necessary or useful in order to perfect and maintain Purchaser's
perfected first-priority security interest in the Collateral, and in order to fully consummate all of the transactions contemplated under
this Agreement.

     7. Application of Payments. Checks, instruments and all other non cash payments delivered to Purchaser in payment or on
account of the Accounts or the Obligations constitute conditional payment only until such items are actually paid in cash to Purchaser,
for the purpose of computing fees earned by Purchaser, credit therefor and for bank wire transfers shall be given as of the second (2nd)
day after receipt by Purchaser, with exception of payments made by and through ACH, which are applied as same day availability. All
payments made by or on behalf of, and all credits due to Seller, may be applied and reapplied in whole or in part to any of the
Obligations to such extent and in such manner as Purchaser shall determine in its sole discretion. Purchaser shall have the continuing
exclusive right to apply and reapply any and all such payments in such manner as Purchaser shall determine in its sole discretion,
notwithstanding any entry by Purchaser upon any of its books and records.

      8.     Events of Default and Remedies.

          8.1 Events of Default. If any one or more of the following events shall occur, any such event shall constitute an Event of
Default and Seller shall provide Purchaser with immediate written notice thereof: (a) Any warranty, representation, statement, report
or certificate made or delivered to Purchaser by Seller or any of Seller's officers, employees or agents now or hereafter is incorrect,
false, untrue or misleading in any respect whatever; (b) Seller shall fail to perform or comply with or otherwise shall breach, any other
term or condition contained in this Agreement, or any other agreement whether now or hereafter existing between Purchaser and
Seller; (c) Seller shall fail to pay or perform any other Obligation when due; (d) A material impairment of the prospect of payment or
performance of the Obligations or a material impairment of the value of the Collateral or any impairment in the priority of Purchaser's
security interests; (e) Any event shall arise which may result or actually result in the acceleration of the maturity of the indebtedness of
Seller to others under any loan or other agreement or undertaking now or hereafter existing; (f) Seller shall fail promptly to perform or
comply with any term or condition of any agreement now or hereafter existing with any third party resulting in an actual or potential
material adverse effect on Seller's business; (g) Any levy, assessment, attachment, seizure, lien or encumbrance for any cause or
reason whatsoever, upon all or any part of the Collateral or any other asset of Seller (unless discharged by payment, release or fully
bonded against not more than ten (10) days after such event has occurred); (h) Dissolution, termination of existence, insolvency or
business failure of Seller; or appointment of a receiver, trustee or custodian, for all or any part of the property of, assignment for the
benefit of creditors by, or the commencement of any proceeding by or against Seller under any reorganization, bankruptcy,
insolvency, arrangement, readjustment of debt, dissolution or liquidation law or statute of any jurisdiction, now or hereafter in effect;
or entry of a court order which enjoins, restrains or in any way prevents Seller from conducting all or any part of its business; or
failure to pay any foreign, federal, state or local tax or other debt of Seller unless, with respect to any such tax, Seller complies with
the provisions of Section 5.11; (i) A notice of lien, levy or assessment is filed of record with respect to any of Seller's assets by the
United States or any department, agency or instrumentality thereof, or by any state, county, municipal or other government agency, or
if any taxes or debts now or hereafter owing to any one or more of them becomes a lien, whether choate or otherwise, upon all or any
of the Collateral or any other assets of Seller (other than a lien for real property taxes which are not yet due and payable); (j) Death or
insolvency or incompetency of any guarantor of any or all of the Obligations; appointment of a conservator or guardian of the person
of any such guarantor; appointment of a conservator, guardian, trustee, custodian or receiver of all or any part of the assets, property or
estate of any such guarantor; revocation or termination of, or limitation of liability upon, any guaranty of any or all of the Obligations;
or commencement of proceedings by or against any guarantor or surety for Seller under any bankruptcy or insolvency law; (k) Seller
makes any payment on account of any indebtedness or obligation which has been subordinated to the Obligations or if any person who
has subordinated such indebtedness or obligation terminates or in any way limits his subordination agreement; (l) Seller shall
generally not pay its debts as they become due or shall enter into any agreement (whether written or oral), or offer to enter into any
such agreement, with all or a significant number of its creditors regarding any moratorium or other indulgence with respect to its debts
or the participation of such creditors or their representatives in the supervision, management or control of the business of Seller; Seller
shall conceal, remove or permit to be concealed or removed any part of its property, with intent to hinder, delay or defraud its
creditors, or make or suffer any transfer of any of its property which may be fraudulent under any bankruptcy, fraudulent conveyance
or similar law, or shall make any transfer of its property to or for the benefit of any creditor at a time when other creditors similarly
situated have not been paid; or (m) Purchaser at any time, acting in good faith and in a commercially reasonable manner, deems itself
insecure.

         8.2 Remedies. Upon the occurrence of any Event of Default, and at any time thereafter, Purchaser, at its option, and without
notice or demand of any kind (all of which are hereby expressly waived by Seller) may do any one or more of the following: (a) Cease
advancing money or extending credit to or for the benefit of Seller under this Agreement, and any other document or agreement; (b)
Accelerate and declare all or any part of the Obligations to be immediately due, payable, and performable, notwithstanding any
deferred or installment payments allowed by any instrument evidencing or relating to any Obligation; (c) Take possession of any or all
of the Collateral wherever it may be found, and for that purpose Seller hereby authorizes Purchaser without judicial process to enter
onto any of the Seller's premises without hindrance to search for, take possession of, keep, store, or remove any of the Collateral and
remain on such premises or cause a custodian to remain thereon in exclusive control thereof without charge for so long as Purchaser
deems necessary in order to complete the enforcement of its rights under this Agreement or any other agreement; provided, however,
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that should Purchaser seek to take possession of any or all of the Collateral by court process or through a receiver, Seller hereby
irrevocable waives: (i) any bond and any surety or security relating thereto required by any statute, court rule or otherwise as an
incident to such possession; (ii) any demand for possession prior to the commencement of any suit or action to recover possession
thereof; and (iii) any requirement that Purchaser retain possession of and not dispose of any such Collateral until after trial or final
judgment; (d) Require Seller to assemble any or all of the Collateral and make it available to Purchaser at a place or places to be
designated by Purchaser which is reasonably convenient to Purchaser and Seller, and to remove the Collateral to such locations as
Purchaser may deem advisable; (e) place a receiver in exclusive control of Seller’s business and/or any or all of the Collateral, in order
to assist Purchaser in enforcing its rights and remedies; (f) Sell, ship, reclaim, lease or otherwise dispose of all or any portion of the
Collateral in its condition at the time Purchaser obtains possession or after further manufacturing, processing or repair; at any one or
more public and /or private sale(s) (including execution sales); in lots or in bulk; for cash, exchange for other property or on credit;
and to adjourn any such sale from time to time without notice other than oral announcement at the time scheduled for sale. Purchaser
shall have the right to conduct such disposition on Seller's premises without charge for such time or times as Purchaser deems fit, or
on Purchaser's premises, or elsewhere and the Collateral need not be located at the place of disposition. Purchaser may directly or
through any affiliated company purchase or lease any Collateral at any such public disposition and, if permissible under applicable
law, at any private disposition. Any sale or other disposition of Collateral shall not relieve Seller of any liability Seller may have if any
Collateral is defective as to title or physical condition at the time of sale; (g) Demand payment of, and collect any Accounts,
Instruments, Chattel Paper, Supporting Obligations and General Intangibles comprising part or all of the Collateral; or (h) Demand
and receive possession of any of Seller's federal and state income tax returns and the books, records and accounts utilized in the
preparation thereof or referring thereto. Any and all attorneys' fees, expenses, costs, liabilities and obligations incurred by Purchaser
with respect to the foregoing shall be added to and become part of the Obligations, shall be due on demand, and shall bear interest at a
rate equal to the highest interest rate applicable to any of the Obligations.

          8.3 Application of Proceeds. The proceeds received by Purchaser from the disposition of or collection of any of the
Collateral shall be applied to such extent and in such manner as Purchaser shall determine in its sole discretion. If any deficiency shall
arise, Seller shall remain liable to Purchaser therefor. In the event that, as a result of the disposition of any of the Collateral, Purchaser
directly or indirectly enters into a credit transaction with any third party, Purchaser shall have the option, exercisable at any time, in its
sole discretion, of either reducing the Obligations by the principal amount of such credit transaction or deferring the reduction thereof
until the actual receipt by Purchaser of cash therefor from such third party.

         8.4 Online Access. Upon an Event of Default, all of Seller’s rights and access to any online internet services that Purchaser
makes available to Seller shall be provisional pending Seller’s curing of all such Events of Default. During such period of time,
Purchaser may limit or terminate Seller’s access to online services. Seller acknowledges that the information Purchaser makes
available to Seller through online internet access, both before and after an Event of Default, constitutes and satisfies any duty to
respond to a request for accounting or request regarding a statement of account that is referenced in Section 9-210 of the UCC.

          8.5 Standards of Commercial Reasonableness. After an Event of Default, the parties acknowledge that it shall be
presumed commercially reasonable and Purchaser shall have no duty to undertake to collect any Account, including those in which
Purchaser receives information from an Account Debtor that a Dispute exists. Furthermore, in the event Purchaser undertakes to
collect or enforce an obligation of an Account Debtor or any other person obligated on the Collateral and ascertains that the possibility
of collection is outweighed by the likely costs and expenses that will be incurred, Purchaser may at any such time cease any further
collection efforts and such action shall be considered commercially reasonable. Before Seller may, under any circumstances, seek to
hold Purchaser responsible for taking any uncommercially reasonable action, Seller shall first notify Purchaser in writing, of all of the
reasons why Seller believes Purchaser has acted in any uncommercially reasonable manner and advise Purchaser of the action that
Seller believes Purchaser should take.

          8.6 Remedies Cumulative. In addition to the rights and remedies set forth in this Agreement, Purchaser shall have all the
other rights and remedies accorded a secured party under the UCC and under any and all other applicable laws and in any other
instrument or agreement now or hereafter entered into between Purchaser and Seller and all of such rights and remedies are
cumulative and none is exclusive. Exercise or partial exercise by Purchaser of one or more of its rights or remedies shall not be
deemed an election, nor bar Purchaser from subsequent exercise or partial exercise of any other rights or remedies. The failure or
delay of Purchaser to exercise any rights or remedies shall not operate as a waiver thereof, but all rights and remedies shall continue in
full force and effect until all of the Obligations have been fully paid and performed.

    9. Power of Attorney. Seller grants to Purchaser an irrevocable power of attorney coupled with an interest authorizing and
permitting Purchaser (acting through any of its employees, attorneys or agents) at any time, at its option but without obligation, with
or without notice to Seller, and at Seller's sole expense, to do any or all of the following, in Seller's name or otherwise: (a) Execute on
behalf of Seller any financing statement, continuation financing statement, financing statement amendment, security agreement,
control agreement, deed of trust, mortgage, assignment of personal or real property lease, assignment of rentals from real or personal
property, assignment, certificate of title, application for vehicle title, affidavit, report, notice, schedule of Account, and all other
documents that Purchaser may, in its sole and absolute discretion, deem advisable in order to perfect, maintain or improve Purchaser's
security interests in the Collateral or other real or personal property intended to constitute Collateral, or in order to exercise a right of
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Seller or Purchaser, or in order to fully consummate all the transactions contemplated under this Agreement, and all other present and
future agreements; (b) At any time after the occurrence of an Event of Default, execute on behalf of Seller any document exercising,
transferring or assigning any option to purchase, sell or otherwise dispose of or to lease (as lessor or lessee) any real or personal
property; (c) Execute on behalf of Seller, any invoices or other documents relating to any Account, any draft against any Account
Debtor and any notice to any Account Debtor, any proof of claim in bankruptcy, any Notice of Lien, claim of mechanic's,
materialman's or other lien, or assignment of satisfaction of mechanic's, materialman's or other lien; (d) Take control in any manner of
any cash or noncash items of payment or proceeds of Collateral; endorse the name of Seller upon any instruments, notes, acceptances,
checks, drafts, money orders, bills of lading, freight bills, chattel paper or other documents, evidence of payment or Collateral that
may come into Purchaser's possession; (e) Upon the occurrence of any Event of Default, to receive and open all mail addressed to
Seller; and, in the exercise of such right, Purchaser shall have the right, in the name of Seller, to notify the Post Office authorities to
change the address for the delivery of mail addressed to Seller to such other address as Purchaser may designate including, but not
limited to, Purchaser's own address; Purchaser shall turn over to Seller all of such mail not relating to the Collateral; such right to
redirect mail granted to Purchaser is irrevocable and Seller shall not have the right to notify the Post Office to change the address for
delivery after Purchaser has exercised such right; (f) Upon the occurrence of any Event of Default, to direct any financial institution
which is a participant with Purchaser in extensions of credit to or for the benefit of Seller, or which is the institution with which any
deposit account is maintained, to pay to Purchaser all monies on deposit by Seller with said financial institution which are payable by
said financial institution to Seller, regardless of any loss of interest, charge or penalty as a result of payment before maturity; (g)
Endorse all checks and other forms of remittances received by Purchaser “Pay to the Order of LightStar Financial Services, LLC,” or
in such other manner as Purchaser may designate; (h) Pay, contest or settle any lien, charge, encumbrance, security interest and
adverse claim in or to any of the Collateral, or any judgment based thereon, or otherwise take any action to terminate or discharge the
same; (i) Grant extensions of time to pay, compromise claims and settle Accounts and the like for less than face value and execute all
releases and other documents in connection therewith; (j) Pay any sums required on account of Seller's taxes or to secure the release of
any liens therefore, or both; (k) Settle and adjust, and give releases of any insurance claim that relates to any of the Collateral and
obtain payment therefor, and make all determinations and decisions with respect to any such policy of insurance and endorse Seller's
name on any check, draft, instrument or other item of payment or the proceeds of such policies of insurance; (l) Instruct any
accountant or other third party having custody or control of any books or records belonging to, or relating to, Seller to give Purchaser
the same rights of access and other rights with respect thereto as Purchaser has under Section 6.4 of this Agreement; and (m) Take any
action or pay any sum required of Seller pursuant to this Agreement in order to carry out the purposes of this Agreement, and any
other present or future agreements. Any and all sums paid and any and all costs expenses, liabilities, obligations and attorneys' fees
incurred by Purchaser with respect to the foregoing shall be added to and become part of the Obligations and shall be payable on
demand and shall bear interest at a rate equal to the highest interest rate applicable to any of the Obligations. In no event shall
Purchaser's rights under the foregoing power of attorney or any of Purchaser's other rights under this Agreement be deemed to indicate
that Purchaser is in control of the business, management of properties of Seller.

      10. General.

           10.1 Notices. Any Written Notice to be given under this Agreement will be in writing addressed to the respective party as set
forth in the heading to this Agreement and will be personally served, telecopied or sent by overnight courier service or United States
Mail and will be deemed to have been given: (a) if delivered in person, when delivered; (b) if delivered by telecopy or e-mail, on the
date of transmission if transmitted on a business day before 4:00 p.m. (Central Time) or, if not, on the next succeeding business day;
(c) if delivered by overnight courier, two (2) days after delivery to such courier properly addressed; or (d) if by U.S. Mail, four (4)
business days after depositing in the United States Mail, with postage prepaid and properly addressed. If there is more than one Seller,
notice to any shall constitute notice to all; if Seller is a corporation, partnership or limited liability company, the service upon any
member of the Board of Directors, general partner, managing member, officer, employee or agent shall constitute service upon Seller.

         10.2 Payment in Full Checks. Seller authorizes Purchaser to accept, indorse and deposit on behalf of Seller any checks
tendered by an Account Debtor “in full payment” of its obligation to Seller. Seller shall not assert against Purchaser any claim arising
therefrom, irrespective of whether such action by Purchaser affects an accord and satisfaction of Seller’s claims, under Section 3-311
of the UCC.

         10.3 Indemnity. Seller shall indemnify and hold Purchaser harmless from and against any and all claims, debts, losses,
demands, actions, causes of action, lawsuits, damages, penalties, judgments, liabilities, costs and expenses (including, without
limitation, attorneys' fees), of any kind or nature which Purchaser may sustain or incur in connection with, or arising from, this
Agreement, any other present or future agreement, or the breach by Seller of any representation, warranty, covenant or provision
contained herein or therein, or any other transaction contemplated hereby or thereby or relating hereto or thereto, any Avoidance
Action, or any other matter, cause or thing whatsoever, occurred, done, omitted or suffered to be done by Purchaser relating in any
way to Seller. Notwithstanding any other provision of this Agreement to the contrary, the indemnity agreement set forth in this Section
shall survive termination of this Agreement. All Indemnity obligations shall be payable on demand. If Seller fails to honor this
Section of the Agreement after termination of this Agreement, Purchaser may pursue all available rights and remedies under this
Agreement and the Uniform Commercial Code as enacted in Missouri, including without limitation refilling a UCC-1 financing
statement and collecting on all Accounts. Purchaser, may in its sole discretion, establishes an additional reserve to account for any
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potential Avoidance Actions.

          10.4 Attorneys' Fees and Costs. Seller shall forthwith pay to Purchaser the amount of all actual attorneys' fees and all filing,
recording, publication, search and other costs incurred by Purchaser under and pursuant to this Agreement, or any other present or
future agreement, or in connection with any transaction contemplated hereby or thereby, or with respect to the Collateral or the
defense or enforcement of Purchaser's interests (whether or not Purchaser files a lawsuit against Seller), including, without limitation,
charges of auditors, set-up charges, bank charges, and all office and other expenses and costs. Without limiting the generality of the
foregoing, Seller shall, with respect to each and all of the foregoing, pay all actual attorneys' fees and costs Purchaser incurs in order
to: obtain legal advice, enforce, or seek to enforce, any of its rights; prosecute actions against, or defend actions by, Account Debtors;
commence, intervene in, respond to, or defend any action or proceeding; initiate any complaint to be relieved of the effect of the
automatic stay in bankruptcy in order to commence or continue any foreclosure or other disposition of the Collateral or to commence
or continue any action or other proceeding against Seller for relating to the Collateral; file or prosecute a claim or right in any action or
proceeding including, but not limited to, any probate claim, bankruptcy claim, third-party claim, secured creditor claim or reclamation
complaint, examine, audit, count, test, copy, or otherwise inspect any of the Collateral or any of Seller's books and records; or protect,
obtain possession of, lease, dispose of, or otherwise enforce any security interest in or lien on, the Collateral or represent Purchaser in
any litigation with respect to Seller's affairs. In the event that Purchaser files any lawsuit against the Seller predicated on a breach of
this Agreement, or in any way relates to this Agreement, Purchaser shall be entitled to recover its costs and attorneys' fees, including
but not limited to attorneys' fees and costs incurred in the enforcement of, execution upon or defense of any order, decree, award or
judgment. All attorneys' fees and costs to which Purchaser may be entitled pursuant to this Section shall immediately become part of
Seller's Obligations, and shall be due on demand.

         10.5 No Lien Termination without Release. In recognition of the Purchaser’s right to have its attorneys’ fees and other
expenses incurred in connection with this Agreement secured by Collateral, notwithstanding payment in full of all Obligations by
Seller, Purchaser shall not be required to record any terminations or satisfactions of any of Purchaser’s liens on the Collateral unless
and until Seller has executed and delivered to Purchaser a general release in a form suitable to Seller. Seller understands that this
provision constitutes a waiver of its rights under Section 9-513 of the UCC.

          10.6 Benefit of Agreement. The provisions of this Agreement shall be binding upon and inure to the benefit of the respective
successors, assigns, heirs, beneficiaries and representatives of the parties hereto; provided, however, that Seller may not assign or
transfer any of its rights under this Agreement without the prior written consent of Purchaser, and any prohibited assignment shall be
void. No consent by Purchaser to any assignment shall relieve Seller or any guarantor from its liability for the Obligations. Without
limiting the generality of the foregoing, all rights and benefits of Purchaser under this Agreement may be exercised by any institution
with which Purchaser maintains any rediscount, factoring or other relationship and by any other person or entity designated by
Purchaser.

          10.7 Joint and Several Liability. The liability of each Seller shall be joint and several and the compromise of any claim
with, or the release of, any Seller shall not constitute a compromise with, or a release of, any other Seller.

          10.8 General Waivers. The failure of Purchaser at any time or times hereafter to require Seller strictly to comply with any of
the provisions, warranties, terms or conditions of this Agreement or any other present or future instrument or agreement between
Seller and Purchaser shall not waive or diminish any right of Purchaser thereafter to demand and receive strict compliance therewith
and with any other provision warranty, term and condition; and any waiver of any default shall not waive or affect any other default,
whether prior or subsequent thereto and whether of the same or of a different type. None of the provisions, warranties, terms or
conditions of this Agreement or other instrument or agreement now or hereafter executed by Seller and delivered to Purchaser shall be
deemed to have been waived by any act or knowledge of Purchaser or its agents or employees, but only by a specific written waiver
signed by an officer of Purchaser and delivered to Seller. Seller waives any and all notices or demands which Seller might be entitled
to receive with respect to this Agreement, or any other agreement by virtue of any applicable law. Seller hereby waives demand,
protest, notice of protest and notice of default or dishonor, notice of payment and nonpayment, release, compromise, settlement,
extension or renewal of any commercial paper, instrument, Account, general intangible, document or guaranty at any time held by
Purchaser on which Seller is or may in any way be liable, and notice of any action taken by Purchaser unless expressly required by
this Agreement. Seller hereby ratifies and confirms whatever Purchaser may do pursuant to this Agreement and agrees that Purchaser
shall not be liable for the safekeeping of the Collateral or any loss or damage thereto, or diminution in value thereof, from any cause
whatsoever, any act or omission of any carrier, warehouseman, bailee, forwarding agent or other person, or any act of commission or
any omission by Purchaser or its officers, employees, agents, or attorneys, or any of its or their errors of judgment or mistakes of fact
or of law.

         10.9 Section Headings; Construction. Section headings are used herein for convenience only. Seller acknowledges that the
same may not describe completely the subject matter of the applicable Section, and the same shall not be used in any manner to
construe, limit, define or interpret any term or provision hereof. This Agreement has been fully reviewed and negotiated between the
parties and no uncertainty or ambiguity in any term or provision of this Agreement shall be construed strictly against Purchaser or
Seller under any rule of construction or otherwise.
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           10.10 Destruction of Seller's Documents; Limitation of Actions. Any documents, schedules, invoices or other papers
delivered to Purchaser may be destroyed or otherwise disposed of by Purchaser six (6) months after the same are delivered to
Purchaser, unless Seller makes written request therefor and pays all expenses attendant to their return, in which event Purchaser shall
return same when Purchaser's actual or anticipated need therefor has terminated. Seller agrees that any claim or cause of action by
Seller against Purchaser, its directors, officers, employees, agents, accountants or attorneys, based upon, arising from, or relating to
this Agreement, or any other present or future agreement, or any other transaction contemplated hereby or thereby or relating hereto or
thereto, or any other matter, cause or thing whatsoever, occurred, done, omitted or suffered to be done by Purchaser, its directors,
officers, employees, agents, accountants, or attorneys, relating in any way to Seller, shall be barred unless asserted by Seller by the
commencement of an action or proceeding in a court of competent jurisdiction by the filing of a complaint within six (6) months after
the first act, occurrence or omission upon which such claim or cause of action, or any part thereof, is based, and the service of a
summons and complaint on an officer of Purchaser, or on any other person authorized to accept service on behalf of Purchaser, within
thirty (30) days thereafter. Seller agrees that such six-month period provided herein shall not be waived, tolled, or extended except by
the written consent of Purchaser in its sole and absolute discretion. This provision shall survive any termination, however arising, of
this Agreement and any other present or future agreement.

          10.11 Severability. Should any provision, clause or condition of this Agreement be held by any court of competent
jurisdiction to be void, invalid, inoperative, or otherwise unenforceable, such defect shall not affect any other provision, clause or
condition, and the remainder of this Agreement shall be effective as though such defective provision, clause or condition had not been
a part hereof.

          10.12 Integration. This Agreement and such other written agreements, documents and instruments as may be executed in
connection herewith shall be construed together and constitute the entire, only and complete agreement between Seller and Purchaser,
and all representations, warranties, agreements, and undertakings heretofore or contemporaneously made, which are not set forth
herein or therein, are superseded hereby.

         10.13 Amendment. The terms and provisions of this Agreement may not be waived, altered, modified or amended except in
a writing executed by Seller and a duly authorized officer of Purchaser.

       10.14 Time of Essence. Time is of the essence in the performance by Seller of each and every obligation under this
Agreement.

          10.15 Governing Law; Jurisdiction; Venue. This Agreement and all acts and transactions hereunder and thereunder and all
rights and obligations of Purchaser and Seller shall be governed, construed and interpreted in accordance with the internal laws of the
State of Missouri. Seller: (i) agrees that all actions or proceedings relating directly or indirectly hereto shall, at the option of Purchaser,
be litigated in courts located within said state, and that, at the option of Purchaser, the exclusive venue, at Purchaser’s sole option,
therefor shall be Buchanan County, Missouri; (ii) consents to the jurisdiction and venue of any such court and consents to service of
process in any such action or proceeding by personal delivery or any other method permitted by law; and (iii) waives any and all rights
Seller may have to object to the jurisdiction of any such court, or to transfer or change the venue of any such action or proceeding.

       10.16 Waiver of Right to Jury Trial. PURCHASER AND SELLER HEREBY WAIVE THEIR RESPECTIVE RIGHTS
TO A JURY TRIAL IN ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF THIS AGREEMENT,
ANY OTHER PRESENT OR FUTURE INSTRUMENT OR AGREEMENT BETWEEN PURCHASER AND SELLER, AND ANY
CONDUCT, ACTS OR OMISSIONS OF PURCHASER OR SELLER OR ANY OF THEIR DIRECTORS, MEMBERS,
PARTNERS, OFFICERS, EMPLOYEES, AGENTS, ATTORNEYS OR ANY OTHER PERSONS AFFILITATED WITH
PURCHASER OR SELLER. PURCHASER AND SELLER ACKNOWLEDGE THAT THIS WAVIER IS A MATERIAL
INDUCEMENT TO ENTER INTO A BUSINESS RELATIONSHIP, THAT EACH HAS ALREADY RELIED ON THE WAIVER
IN ENTERING INTO THIS AGREEMENT AND THAT EACH WILL CONTINUE TO RELY ON THE WAIVER IN THEIR
RELATED FUTURE DEALINGS. PURCHASER AND SELLER FURTHER WARRANT AND REPRESENT THAT EACH HAS
REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL AND THAT EACH KNOWINGLY AND VOLUNTARILY WAIVES
ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL COUNSEL.




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         IN WITNESS WHEREOF, the parties hereto have executed this Agreement through their duly authorized officers as of the
Effective Date.



LIGHTSTAR FINANCIAL SERVICES, LLC

By: ____________________________________
Name: Janelle Glidewell
Its: Member/CEO


VANGUARD HEALTH & WELLNESS, LLC

By: __________________________________________
Name: AMO Holdings, LLC by Alexander Green
Its: Vice President


By: __________________________________________
Name:Marina Zayats
Its: President




------------------------------------------------------------------------------------------------------------------------------------------------------------------

For Seller:

State of __________________________

County of ________________________

On this _____ day of __________________ in the year of __________, before me, the undersigned notary public, personally
appeared _________________________________________, known to me to be the person(s) whose name(s) is/are subscribed to
the within instrument and acknowledged that he/she/they executed the same for the purposed therein contained. In witness
whereof, I hereunto set my hand and official seal.


                                                                      ____________________________________
            (seal)                                                    Notary Public




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                                               SCHEDULE 5.3

 Account Debtor       Provider Name                       Provider Identification Number
 Medicare (J11      Vanguard Health &
 MAC SC/HHH-        Wellness, LLC        Provider Number: 14-8311
 Palmetto GBA)                           NPI Number: 1477858298
                                         Tax Identification Number: XX-XXXXXXX
                                         Other (please include a description of the number and the number
                                         itself): _________________________

                                         Provider Number: _____________________
                                         NPI Number: _________________________
                                         Tax Identification Number: ________________________
                                         Other (please include a description of the number and the number
                                         itself):________________________________________________

                                         Provider Number: _____________________
                                         NPI Number: _________________________
                                         Tax Identification Number: ____________________
                                         Other (please include a description of the number and the number
                                         itself):_______________________________________________

                                         Provider Number: __________________________
                                         NPI Number: _________________________
                                         Tax Identification Number: _____________________
                                         Other (please include a description of the number and the number
                                         itself):________________________________________________

                                         Provider Number: ____________________
                                         NPI Number: _________________________
                                         Tax Identification Number: ___________________
                                         Other (please include a description of the number and the number
                                         itself):________________________________________________

                                         Provider Number: _____________________
                                         NPI Number: _________________________
                                         Tax Identification Number: ___________________
                                         Other (please include a description of the number and the number
                                         itself):________________________________________________

                                         Provider Number: _____________________
                                         NPI Number: ________________________
                                         Tax Identification Number: __________________
                                         Other (please include a description of the number and the number
                                         itself):________________________________________________
                                         Provider Number: _____________________
                                         NPI Number: _________________________
                                         Tax Identification Number: __________________
                                         Other (please include a description of the number and the number
                                         itself):________________________________________________

                                         Provider Number: _____________________
                                         NPI Number: _________________________
                                         Tax Identification Number: _________________________
                                         Other (please include a description of the number and the number
                                         itself):_______________________________________________




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